Case 2:162@-02872;/Q8Y5-Bagumentimehiled 960b@27 age baid1 Bage ID #51

ng Al aD UNITED STATES DISTRICT COURT
oF NL) i CENTRAL DISTRICT OF CALIFORNIA

MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER -
NEBBIA HEARING

 

 

 

 

 

 

 

 

 

 

 

 

 

Case No, 18-2372M CourtSmart CS 09/19/18 Date: 09/19/2018
Present: The Honorable Alexander F. MacKinnon , U.S. Magistrate Judge
J. Munoz Sylvia Ewald N/A
Deputy Clerk Assistant U.S. Attorney Interpreter / Language
USA v. Thomas William Hancock Attorney Present for Defendant:
Jonathan Lynn
© Present Bf Custody O Bond (O Not present WPresent OCJA MRetd O DFPD (© Not present
PROCEEDINGS: DETENTION HEARING XX. FILED ___ LODGED
Government's request for detention is) O. GRANTED O DENIED WITHDRAWN (CONTINUED NUEDRECEIVED ___ COPY
Witnesses CST (see separate list). C] Exhibits Marked/Admitted (see separate list).
Court orders that exhibits be returned to the respective counsel / party of record. SEP 25 2018
C1 See Receipt for Release of Exhibits to Counsel.
Counsel stipulation to bail. p CO
Court'finds presumption under 18 USC 3142e has not been rebutted. ~ Bist et oF AREONA RT
Court ORDERS DEFENDANT PERMANENTLY DETAINED, See separate detention order. }
Court finds presumption under 18 USC 3142e has been rebutted.
Court sets bail at: $ . O SEE ATTACHED COPY OF CR-01 BOND FORM

‘gcgooo0oo0 ooa

 

FOR CONDITIONS OF RELEASE,

 

 

 

{1 Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.

(Court orders further detention / bail hearing to be set on at QOa.m. / p.m. in
Courtroom before Judge

O Court orders case continued to at Qa.m, / Cp.m, for yin

 

 

Courtroom before Judge
O Release Order Issued - Release No.
O° Other:

 

 

 

PROCEEDINGS: if REVIEW / RECONSIDERATION OF BAIL / DETENTION ORDER - BOND HEARING
O NEBBIA HEARING

Hearing on 0 Plaintiffs 4 Defendant's request for review / reconsideration of bail / detention order had and request is:
MGRANTED CO DENIED

Court ORDERS bail as to the above-named defendant W modified to 1 set at: $ 50,000.00

wf SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.

Bond previously set is ordered vacated.

Court orders defendant permanently detained. See separate order.

Court denies request for bail, defendant shall remain permanently detained as previously ordered.

Witnesses CST (see separate list). 0 Exhibits Marked / Admitted (see separate list).

Court orders that exhibits be returned to the respective counsel / party of record,

CO See Receipt for Release of Exhibits to Counsel.

Case continued to at Oam./O p.m. for

before Judge in Courtroom

{1 Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
(% Other Bond ordered stayed for 5 days until 09/25/2018. Defendant ordered Held to Answer to District of Arizona.

Per AUSA appearance date cannot be given until defendant is released. Bond to transfer if released.

OoOoanod

O

 

Release Order Issued - Release No.

 

Deputy Clerk Initials JM 7

 

M-46 (06/10) MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER - NEBBIA HEARING

 
Case 2:1Sanyj-02872rRUF¥5-Bocumpatiimehiled PGE Pha Hage AAI S2 Rage ID #52

 

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

Case Name: United States of America v. Thomas William Man cock Case No. 18-2372M
[m] Defendant [_] Material Witness

Violation of Title and Section: 18 USC 1343, 1957(a)

[-]Summons —_ [[] Out of District oF Under Seal > fils Date: 94 9 pb I

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check only one ‘of the five numbered boxes below. 0} ced by iG
1 LJ Personal Recognizance (Signature Only) (0). rT Affidavit of Surety With Justification Release No.
2] Unsecured Appearance Bond (Form CR-3) Signed by:
elease to Pretrial ONLY
3. 7 eg Release to Probation ONLY
$ , ) [_] Forthwith Release
D
(a). ¥] Cash Deposit oan or mbel) 7) [_] With Full Deeding of Property:
(b). M idavit. of Surety Without
Justi ication ey cr-4) Signed by: All Conditions of Bond
00 e c (Exce cept Clearing- Warrants
Condition) Must be Met
soe , and Posted by:
[_] Third-Party Custody
4.{_] Collateral Bond in the Amount of (Cash Affidavit (Form CR-31)
or Negotiable Securities):
$ J Bail Fixed by Court:
5, [_] Corporate Surety Bond in the Amount oft /JM
$ (Judge / Clerk's Initials)
PRECONDITIONS TO RELEASE = Bond ordered Stayed
["] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4). for Sday s fran te ”
[[] The Court has ordered a Nebbia hearing under § 3142 (g)(4). daft. Unti/ Yash§
[L] The Nebbia hearing is set for at Cam. Cl p.m.

 

 

ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:
xX Submit to: [Ypretrial Services Agency (PSA) supervision as directed by PSA; [_] Probation (USPO) supervision as directed by USPO.
(The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency.")

[Surrender all passports and travel documents to Supervising Agency no later than , sign a Declaration
re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
of this case. y)

[WTravel is restricted to CVC oe Art Zoyl af courT opp earan ces any e$s prior permission is granted by Supervising
Agency to travel to a specific other location. Court permission is required for international travel. Live, /y jel tried
Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency. Diana Remba/)

Niven or actively seek employment and provide proof to Supervising Agency. x Employment to be approved by Supervising Agency.

[[] Maintain or begin an educational program and provide proof to Supervising Agency.

4 Date v4 wi

Defendant's Initials:
CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 1 OF 4

 

 
Case 2:16aen}- 028721 B¥S-Borument binchiled PWAPGH 2H age BAISs Bagg ID #53

’ Case Name: United States of America v. Thomas William Hanock Case No. 18-2372M
{m] Defendant [[] Material Witness

Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

 

 

witness in the subject investigation or prosecution, [7] including but not limited to

;[_] except
[_] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel, Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

["] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. [_] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal,

[_] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

 

permission from the Court, except

 

[_] Do not engage in tax preparation for others.

xl Do not use alcohol.

[_] Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

hao not use or possess illegal drugs or state-authorized marijuana, (gin order to determine compliance, you agree to
submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

x Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor. .

M1 Submit to: [drug and/or ["]alcohol testing, If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

[[] Participate in residential ["] drug and/or [_] alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [_]Release to PSA only [_]Release to USPO only

ix Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency: nosey”

Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of supervising
Agency, which )Xfwill or [~]will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
[_] Location monitoring only - no residential restrictions;

-or-
[_] You are restricted to your residence every day:

LJfom am p.m. to Olam. O p.m.
[_] as directed by Supervising Agency;

“or Defendant's Initials nH Date: Xx 4 | 1) ly

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 2 OF 4

 

 

 
Case 2:16aai- 02872 DUEYS-Bopumentimehiled (9A 9KG Mage 4.9554 Bagg ID #:54

’ Case Name: United States of America vy. Thomas William Hanock Case No. 18-2372M
[m] Defendant [[] Material Witness

Bef You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
welds eolataa.se Hing andiyr oBencln ok vov ly _ all of which must be preapproved by Supervising Agency;
%] Release to PSA only C] Release to USPO only
[-] You are placed in the third-party custody (Form CR-31) of .
[_] Clear outstanding [] warrants or[_] DMV and traffic violations and provide proof to Supervising Agency within days

 

of release from custody.

[_] Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [[] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the age of 18 except in the presence of a parent or legal guardian of the minor.

[[] Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
under the age of 18.

[_] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare

’ facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

[_] Do not view or possess child pornography or child erotica. ["] In order to determine compliance, you agree to submit to a search
of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
Marshal.

["] Other conditions:

 

 

 

 

 

GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred,

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe,

I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that 1 may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.

I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a,

Defendant's Initials: x TH pas X 4 LS | XY

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 3 OF 4

 
' | Case 2:1@apyj-02872;DUBY5-Bocumentiimehiled PQHOHA277age Palos Bagge !D #:55

Case Name: United States of America v. Thomas William Hanock Case No. 18-2372M
[m] Defendant [_] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine.

I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be

 

 

forfeited.
[(A(20.8 Ze ba 0-20 -F3 12
Date Signature of Defendant / Material Witness Telephone Number

Ct Argel s ’ CALC ALN

ity and State (DO NOT INCLUDE ZIP CODE)

[_] Check if interpreter is used: I have interpreted into the language this entire form

and have been told by the defendant that he or she understands all of it.

 

 

 

 

 

 

Interpreter's Signature Date
Approved:

United States District Judge / Magistrate Judge Date
If cash deposited: Receipt # for $

 

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

_ Defendant's initials TW nae {| 25 ly

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM / PAGE 4 OF 4

 
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Case 2:18as¥-0287-2;DUB¥5-Bocempoatlhechiled C9ABHB2Rage Raise Bags ID #:48

NICOLA T. HANNA
United States Attorney
LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division
SYLVIA R. EWALD (Cal. Bar No. 300267)
Assistant United States Attorney
General Crimes Section
1200 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-0717
Facsimile: (213) 894-0141
E-mail: sylvia.ewald@usdoj.gov

Attorneys for Applicant
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

UNITED STATES OF AMERICA, MJ No. 18-02372
Plaintiff, GOVERNMENT’ S POSITION REGARDING
APPLICATION FOR RECONSIDERATION OF
Vv. ORDER SETTING CONDITIONS OF
RELEASE

THOMAS WILLIAM HANCOCK,

Defendant.

 

 

 

The United States of America, by and through its counsel of
record, the United States Attorney for the Central District of
California and Assistant United States Attorney Sylvia R. Ewald,
hereby submits its position regarding defendant’s application for
reconsideration of the order setting the conditions of his release.

On September 5, 2018, defendant THOMAS WILLIAM HANCOCK
(“defendant”) appeared in the Central District of California for an

arrest on an out-of-district warrant. (Dkt. 3.) Pretrial Services

recommended that defendant be released on a $30,000 signature bond.

The government requested that defendant be detained pre-trial.

(Dkt. 14.) The Court ordered defendant released on a $100,000

 

 
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Case 2:18anj}-0287-2QU3¥5-Bocsmpntléchiled O9ASHG2Hage Rals7 Bagg ID #49

appearance bond, to be signed by a responsible third party owning
property with equity of at least $100,000. (Dkt. 3.)

On September 11, 2018, the parties appeared for a status
conference, during which defendant advised the Court that he would
file a request for bail modification. (Dkt. 8.) On September 14,
2018, defendant filed an application for review or reconsideration
of the order setting conditions of release and a request for
hearing. (Dkt. 11.) Defendant proposed that bail be modified to
provide for a $45,000 signature bond secured by a $5,000 cash
deposit, and represented that the government ‘Nagreed” to those
terms. (Dkt. 11.) On September 17, 2018, the Court approved the
notice and set the matter for hearing on September 19, 2018, at
10:30 a.m, (Dkt. 13.)

The government makes this filing for the limited purpose of
clarifying its position. While the government maintains that
defendant should be detained pending trial, the government
recognizes that the Court has ordered him released and believes that
defendant’s proposal is consistent with the spirit of the bail terms
the Court set on September 5, 2018. The government accordingly does
not object to defendant’s proposed modification, and communicated
such to defense counsel. The government notes, however, that it
understands that the charging district intends to move in the
District of Arizona to revoke the order denying the government’s
request for pre-trial detention based on the charging district’s

determination that defendant presents a significant risk of flight.

 

 
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Dated: September 18,

 

Case 2:16aey 0287295 ¥5-Oorumeabifichiled C9EBER 2H age BAI8s Bage ID #:50

Respectfully submitted,

NICOLA T. HANNA
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

/s/
SYLVIA R. EWALD
Assistant United States Attorney

Attorneys for Applicant
UNITED STATES OF AMERICA

 

 
Case 2:16 410287 2,DiBY5-BacsmentcLinehlled G9/05/dB2 Hage. baid 9 Rage ID #:47

 

 

    

RIC)
“CENTRAL DISTRICT OF CALIFORNI SU

 
 

UNITED STATES DISTRICT COUR uxt Lana SE ERIFGRNIA

 

UNITED STATES OF AMERICA, CASE NUMBER:

. manner | \O-MI- 073872
Tons Willan Vandocle DECLARATION RE PASSPORT AND

DEFENDANT.

I, Thomas Willa w\ Howto IX , declare that

(Defendant/Material Witness)

 

 

[] Ihave never been issued any passport or other travel document by any country. I will not apply for a passport or
other travel document during the pendency of this case.

a I have been issued a passport or other travel document(s). I will surrender my passport and all other travel
document(s) issued to me to the U.S. Pretrial Services Agency by the deadline imposed. I will not apply for a
passport or other travel document during the pendency of this case.

[] Iam unable to locate my passport(s) or other travel document(s). If I locate any passport or other travel
document issued to me, I will immediately surrender it to the U.S. Pretrial Services Agency. I will not apply for a
passport or other travel document during the pendency of this case,

C] My passport and all other travel documents issued to me are in the possession of federal authorities. If any such

document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial
Services Agency. I will not apply for a passport or other travel document during the pendency of this case.

I declare under penalty of perjury that the foregoing is true and correct.
Executed this 5 eRof LS plember , 20 0,
at Cok C \

(City and State) fg Ga. — — so

Signature of Defendant/Material Witness

 

If the declarant is not an English speaker, include the following:

 

 

 

 

 

 

IL, , am fluent in written and spoken English and
languages. I accurately translated this form from English into
to declarant on this date.
Date:
Interpreter

 

CR-37 (05/15) DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS

 
Case 2:t8anj-02872-DUING-Oasumeantderftiled GUAT sPagedaebh oRages|D #:41

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, CASE NUMBER

18-2372M
PLAINTIFF

 

THOMAS HANCOCK, NOTIFICATION RE: APPLICATION FOR BAIL
REVIEW OR RECONSIDERATION OF ORDER
SETTING CONDITIONS OF
RELEASE OR DETENTION,
DEFENDANT. (18 U.S.C. §3142)

 

 

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

Mf is approved. The matter is set on calendar for hearing before:

O District Judge

 

W Magistrate Judge ALEXANDER F. MacKINNON

 

on WEDNESDAY, SEPTEMBER 19, 2018 at 10:30 Mam. O p.m.

 

in courtroom #780 of the Roybal Federal Building

 

QO is not approved.

O Other:

 

An interpreter is| [1 required WM is not required. Language
Defendant is Win custody O not in custody.

 

Clerk, U. S. District Court

September 17, 2018 - fA Ake g (a+ 213-894-4583

Date Deputy Clerk Contact Phone Number

 

 

 

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc: O Probation UC Interpreter’s Office MPSA.

 

NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)

 
Case 212890 j2028-22-DISO¥-CRacumentPichiled C9ddbG2Fjage baid 1 PagedD #:33

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES —- GENERAL

Case No. 18-02372M Date: September 11, 2018

Present: The Honorable: ALEXANDER F. MacKINNON

 

 

Interpreter N/A
Ilene Bernal Recorded on CourtSmart Sylva Ewald
Deputy Clerk Court Reporter / Recorder Assistant U.S. Attorney
ULS.A. v. Defendant(s) Present Cust Bond Attorneys for Defendants: Present App — Ret
THOMAS WILLIAM HANCOCK X Xx Kelly Swanston, DFPD x Xx

Jonathan M. Lynn x x

Proceedings: HRG: STATUS CONFERENCE RE BOND

Attorney Jonathan M. Lynn is substituted in as retained counsel for the defendant and advises the court
that a request for bail modification will be filed.

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Initials of Deputy Clerk _ igh

 

CR-11 (04/15) Criminal Minutes — General Page 1 of 1

 
Case 2d 8empOR872-AUsDY-chacuMentimp Filed OQOSLA2Rage hafd1 PagedD #:32

" UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASB NUMBER:

— 1g -MO- 2372
“Womas Witeam wllatcal wasn or nc

 

 

 

 

 

(OUT OF DISTRICT CASES)
DEFENDANT.
J understand that charges are pendin in the District of ha won
alleging violation of S and that I have been arrested in this district and

{Title and Section / Probation / Supervised Release)
taken before a United States Magistrate Judge, who has informed me of the charge(s) ¢
(1) _ have an identity hearing to determine whether I am the person named i

(2), arrival of process;

   

~Check one only-

a EXCLUDING PROBATION OR SUPERVISED RELEASE CASES; A
(3) have a preliminary hearing (unless an indictment has been returned or an infomati filed) io
determine whether there is probable cause to believe an offense has been committed by me, the
hearing to’ be held in this district or the district of prosecution; and
(4) _ request transfer of the proceedings to this district under Rule 20, Fed.R.CrimP,, in order to plead

guilty.

O PROBATION OR SUPERVISED RELEASE CASES:
(3) have a preliminary hearing (if the violation charged allegedly occurred in this district, and I am
held in custody solely on that charge) under Rule 32.1(b), Fed.R.Crim.P., to determine whether
’ there is probable cause to believe I have violated the terms of my probation/supervised release.

I HEREBY WAIVE (GIVE UP) MY RIGHT(S) TO:

have an identity hearing

arrival of process

have a preliminary hearing

have an identity hearing, and I have been informed that I have no right to a preliminary hearing
have an identity hearing, but I request that a preliminary hearing be held in the prosecuting —
district. .

ae: ASI

I have translated this Waiver to the defendant in the

Roo

 

 

 

 

 

Date:

 

Interpreter(if required)

 

M-14 (09/09) "WAIVER OF RIGHTS (OUT OF DISTRICT CASES)

 
Case 2A 8ern}-02372-D105YG NDB cumentSenFdecrO905485 Ragrh es 23 Bage ID #:9

 

FILED .
CLERK, U.S. DISTRICT. COURT

 

 

 

 

 

 

SEP - 5 20:8
on
CENTRAL DISTH#C OF CALIFORNIA
BY _ DEPUTY
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UNITED STATES DISTRICT COURT :
CENTRAL DISTRICT OF CALIFORNIA .

CASE NUMBER:

Gaited States of pense, rut 19, NI- 2277.
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{homes Yoncor¥: “penn OMT ae g

CONSTITUTIONAL RIGHTS
Defendant. :

 

You are in the United States District Court for the Central District of California because you have been charged
with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
Court informs you that you have the following constitutional and statutory rights in connection with these
proceedings:

_any other case. .
If you have not already received a copy of the charges, you will receive a copy today.

You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
these proceedings. If you cannot afford to hire a lawyer, you can apply to the Court to have a lawyer appointed
to represent you for free from the office. of the Federal Public Defender or the Indigent Defense Panel. The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjury. If you
- say something on the form that is not true or leave out material information, you could be charged with another

crime, such as perjury or making a false statement.

If you are not a United States citizen, you may request that the prosecution notify your consular office
that you have been arrested. Even without such a request, the law may require the prosecution to do so.

You have the right to remain silent. Anything you say, sign, or write can be used against you in this or in

IF YOU ARE MAKING YOUR INITIAL APPEARANCE BEFORE THE COURT

You have a right to a bail hearing in which the Magistrate Judge will determine whether you will be
released from custody before trial, If you disagree with the Magistrate Judge's decision, you can appeal that
decision to another Judge of this Court, You or the prosecutor can request that the bail hearing be continued to
another day.

If you have been charged by complaint, you are entitled to a preliminary hearing within 14 days if the
Magistrate Judge orders that you be detained pending trial, or 21 days if the Magistrate Judge orders that you be
released pending trial, In a preliminary hearing, the prosecution will attempt to show that there is probable. .

-cause to believe that you committed the crime charged in the complaint. You will not be entitled :to a
preliminary hearing, however, if the prosecution obtains an indictment in your case before the time set for the
preliminary hearing. (Most often, the prosecutors in the Central District of California present their cases to the
grand jury before the time set for the preliminary hearing and, therefore, no preliminary hearing is held.)

IF YOU ARE CHARGED WITH A VIOLATION OF
YOUR CONDITIONS OF SUPERVISED RELEASE OR PROBATION

__ If you are charged: with a violation of the terms and conditions of your supervised release or probation
and the Magistrate Judge detains you, you have the right to a preliminary hearing before a Magistrate Judge.

 

CR-10 (06/18) ADVISEMENT OF DERENDANT'S STATUTORY & CONSTITUTIONAL RIGHTS PAGE| OF 2
continued on Page 2

 
Case 2dasmp023¢2 MGT3-Cbrcumestimehiled SQbUB2s7age 2aje1PagesD #:10

IF YOU ARE CHARGED IN ANOTHER DISTRICT

If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy of the warrant authorizing your arrest. You are also entitled to an identity hearing in which the
prosecution would have the burden of proving there is probable cause to believe that you are the person named
in the charges. If you are charged in a complaint from another district, you may request to have a preliminary
hearing held in the charging district. If you are charged with. a violation of a term of supervise release or
probation imposed in another district, you have a right to a preliminary hearing, which may, depending on
where the alleged violation occurred, be held either here or in the charging district,

If you want to plead guilty in the Central District of California, you may request to have your case
transferred to this district. To proceed in this district, the United States Attorneys for this district and the

charging district must agree to the transfer.

IF YOU ARE APPEARING FOR ARRAIGNMENT
If you have been charged by indictment or information, you will be arraigned and may be asked to enter
a not guilty plea today. After your arraignment, your case will be assigned to a District Judge of this Court for
all further proceedings, unless a Judge has already been assigned. ~

You are entitled to a speedy and public trial by jury. The right to a jury trial can be waived,

You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are
entitled to the processes of the Court to subpoena witnesses on your behalf without cost to you if you are
indigent. You do not have to prove your innocence. The prosecution has. the burden to prove your guilt
beyond a reasonable doubt. :

 

ACKNOWLEDGMENT OF DEFENDANT:

[have read.the above Advisement of Rights and understand it. I do not require a translation of this statement

-nor do I require an interpreter for court proceedings. diana

Dated: Us (205

 

 

 

 

 

 

 

 

 

 

 

Signature of Defendant .
[or] .
I have personally heard a translation in the language read to me and
understand the above Advisement of Rights.
Dated:
. Signature of Defendant
STATEMENT OF THE INTERPRETER:
I have translated this Advisement of Rights to the Defendant in the _ language.
Dated:
Signature of Interpreter
Print Name of Interpreter
STATEMENT OF COUNSEL:

a

I am satisfied that the defendant has read this Advisement of Rights or hi s heard the int tation |
thereof and that he/she understands it. ee LCL

Dated:

 

 

/ Signature of Attorney
CR-10 (06/18) os ADVISEMENT OF DEFENDANT'S STATUTORY & CONSTITUTIONAL RIGHTS PAGE 2 OF 2

 
Case 2cLSunp-0237/2eD BOY GRecumentideiiiled PMOShb sPageHages sRades|D #:3

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, | Westem Division UNDER SEAL
Plaintiff, |
vs. | Case Number: 2:18-MJ-02372 Qut of District Affidavit
| Initial App. Date: 09/05/2018 Custody
Thomas William Hancock | Initial App. Time: 2:00 PM

|
|
|
|
|

Defendant. | Date Filed: 09/05/2018
| Violation: 18USC 1343, 1957 0 C
| CourtSmart/ Reporter: + >
CALENDAR/PROCEEDINGS SHEET
LOCAL/OUT-OF-DISTRICT CASE

 

PROCEEDINGS HELD BEFORE UNITED STATES

|
MAGISTRATE JUDGE: Edward A. Infante |
|
|

 

PRESENT: Bernal, Hene None

Cc 4
Sabina tualda
Deputy Clerk NU Assistant U.S A tlorney Interpreter/Language
INITIAL APPEARANCE NOT HELD - CONTINUED
x Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
1 preliminary hearing OR Xf removal hearing / Rule 20.
Defendant states true name xis as charged © is
&1 Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name, Counsel are directed to
file all future documents reflecting the true name as stated on the record.
WDefendant advised of consequences of false statement in financial affidavit. E] Financial Affidavit ordered SEALED. ,, . ;
Attorney: Kelly Swanston, DFPD WY Appointed ©] Prev. Appointed ¥ Poss. Contribution Geeseparare order) uy. X Wie: df ae +
£1 Special appearance by: .
‘SGovernment’s request for detention is: &]| GRANTED 1 DENIED © WITHDRAWN © CONTINUED hg CANLLD 4 aN | b
©) Defendant is ordered: £) Permanently Detained 4 Temporarily Detained (see separate order). ouye
BAIL FIXED AT $__| 6 Q, go 6 (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
(4 Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: [] GRANTED DENIED
Preliminary Hearing waived.
€1Class B Misdemeanor ©) Defendant is advised of maximum penalties
€] This case is assigned to Magistrate Judge . Counsel are directed to contact the clerk for the
setting of all further proceedings.
£1 PO/PSA WARRANT §&) Counsel are directed to contact the clerk for

 

 

 

 

 

 

 

District Judge for the setting of further proceedings.
{3 Preliminary Hearing set for at 4:30 PM
EI PIA set for: at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
©} Government’s motion to dismiss case/defendant only: & GRANTED & DENIED
_&] Defendant’s motion to dismiss for lack of probable cause: [|] GRANTED © DENIED
Defendant executed Waiver of Rights. £1 Process received. A :
£1 Court ORDERS defendant Held to Answer to District of & 26 N 4
£) Bond to transfer, if bail is posted. Defendant to report on or before
©] Warrant of removal and final commitment to issue. Date issued: By CRD:

“®) Warrant of removal and final commitment are ordered stayed until qi i

SyyCase continued to (Pate) _ Anil cing _ “Am AM/PM
Type of Hearing: uC oh Before Judge cCWnpor /Duty, Fee a6 of
Proceedings will be held in the ) Duty Courtroom Judge’s Courtroom VE gd” KG q A

 

PxDefendant committed to the custody of the U.S. Marshal £1 Summons: Defendant ordered to report to USM for proce¥sing.
© Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.

©] Abstract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.

&) RELEASE ORDER NO:

Other:

 

© PSA & USPO FINANCIAL & READY @ ;'

Deputy Clerk Initials __* }
gs ho

M-5 (10/13) CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DISTRICT CASE Page 1 of 1

 
Case 2cb8dnt 02372’ G Mecumentierttiled ORE Wb% sAageeagbo ckage|D #:4

 

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

Case Name: United States of America vy. Thomas William Hancock Case No, 2:18-MJ-02372-DUTY
[m] Defendant [_] Material Witness

 

 

Violation of Title and Section: 18USC1343, 1957
[-]Summons [mi] Out of District [mi] UnderSeal —_ [_] Modified Date:

 

 

 

c ve numbered bo: one bond is to be replaced by another):

1, TO Personal Recognizance (Signature Only) (c).[[] Affidavit of Surety With Justification [Release No.

2. [_] Unsecured Appearance Bond (Form CR-3) Signed by:
$

   

 

 

 

["] Release to Pretrial ONLY
3. MW soe. Bond [_] Release to Probation ONLY

€ —
QO [_] Forthwith Release
(a), C] Cash Deposit (Amount or %) (Form CR-7)

 

[_] With Full Deeding of Property:

 

(b). IX Affidavit of Surety Without
Justification (Form CR-4) Signed by:

 

[_] All Conditions of Bond
(Exce cept Clearing-Warrants
Con tion) Must be Met

and Posted by:

 

 

   

 

i aos~s
aepaaty of at Qesat

 

 

 

 

 

[_] Third-Party Custody
‘{ {oo = & i 4, [[] Collateral Bond in the Amount of (Cash Affidavit (Form CR-31)
or Negotiable Securities):
$ [mi] Bail Fixed by Court:

 

 

 

5, [_] Corporate Surety Bond in the Amount of: Ee |/ BB
$ UJudge / Clerk's Initials)

 

 

 

 

 

 

 

 

PRECONDITIONS TO RELEASE
C] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).

([] The Court has ordered a Nebbia hearing under § 3142 (g)(4).
[_] The Nebbia hearing is set for at Jam. Cl) p.m.

 

 

 

 

ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:
[Submit to: & Pretrial Services Agency (PSA) supervision as directed by PSA; ["] Probation (USPO) supervision as directed by USPO.
(The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency.")

 

Ni Surrender all passports and travel documents to Supervising Agency no later than , Sign a Declaration
re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
of this case.

Ntravel is restricted to Ch C } A (UTE SS 4 unless prior permission is granted by Supervising

 

Agency to travel to a specific other location. Court permission is required for international travel.
XK Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
‘Bi Maintain or actively seek.employment and provide proof to Supervising Agency. [_] Employment to be approved by Supervising Agency.
[_] Maintain or begin an educational program and provide proof to Supervising Agency.

Defendant's Initials: Date:
CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 1 OF 4

 

 

 
Case 2b im}-Q2372 28TH. MECUTEAL eiiled PRONE sPage Sef) 7FAgGa3ID #:5

Case Name: United States of America v, Thomas William Hancock Case No. 2:18-MJ-02372-DUTY
{m] Defendant —[_] Material Witness

W Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

 

witness in the subject investigation or prosecution, ["] including but not limited to

iL] except
[_] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

[_] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. [_] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal,

C] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S, Marshal.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

 

permission from the Court, except

 

[_] Do not engage in tax preparation for others.

[_] Do not use alcohol.

[_] Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requirements of the program, You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

i Do not use or possess illegal drugs or state-authorized marijuana. Kn order to determine compliance, you agree to
submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S, Marshal.

de not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

Sl Submit to: Dearug and/or [Sgalcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

[_] Participate in residential [_] drug and/or ["] alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [_]Release to PSA only [_]Release to USPO only

[_] Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency, You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

[_] Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
Agency, which [Jwill or [ ]will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
[_] Location monitoring only - no residential restrictions,

-or-
[_] You are restricted to your residence every day:
[[] from Cam, CO p.m. to Dam, 4 p.m.
[_] as directed by Supervising Agency;

-Or-
Defendant's Initials: Date:
CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 2 OF 4

 
Case 248inp02sd2 Uda. checumsAtmemlled ARORA. sage 4-Afer1 AgesID #:6

Case Name: United States of America v. Thomas William Hancock Case No. 2:18-MJ-02372-DUTY
[m] Defendant [(] Material Witness

 

[_] You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and

, all of which must be preapproved by Supervising Agency;

 

[_] Release to PSA only [_] Release to USPO only
[_] You are placed in the third-party custody (Form CR-31) of

 

[-] Clear outstanding [] warrants or [_] DMV and traffic violations and provide proof to Supervising Agency within days
of release from custody. .

[_] Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [_] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal,

[_] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the age of 18 except in the presence of a parent or legal guardian of the minor.

[_] Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
under the age of 18.

[_] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

[_] Do not view or possess child pornography or child erotica. [] In order to determine compliance, you agree to submit to a search
of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
Marshal, _

["] Other conditions:

 

 

 

 

 

GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

| will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.

I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case, I understand that if I do so, I may be
subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C, § 14135a.

Defendant's Initials: Date:

 

CR-1 (02/18) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 3 OF 4

 
Case 24 8ni- 02372 2UTY.cPecunentiacihiled PMOSKEFsPage Bie: cRAgesID #:7

Case Name: United States of America v. Thomas William Hancock Case No. 2:18-MJ-02372-DUTY

 

 

{m] Defendant [_] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

Asa condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated. ,

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine, ,

I further understand that if] fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
forfeited,

 

 

Date Signature of Defendant / Material Witness Telephone Number

 

City and State (DO NOT INCLUDE ZIP CODE)

{_] Check if interpreter is used: I have interpreted into the langitage this entire form

and have been told by the defendant that he or she understands all of it.

 

 

Dt tude to \
yen bad :

   
  
 

Interpreter's Signature

Approved:

 

United States District Judge / Magistrate Judge

If cash deposited: Receipt # for $

 

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

Defendant's Initials: Date:

 

 

CR-1 (02/18) : CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 4 OF 4

 
CM/ECF - Califgenia feentral Risti¢sis Document 6 Filed 09/25/18 Page 20 of 23 Page 1 of 4

CLOSED

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
CRIMINAL DOCKET FOR CASE #: 2:18-mj-02372-DUTY All Defendants

Case title: USA v. Hanock Date Filed: 09/05/2018
Date Terminated: 09/19/2018

 

Assigned to: Duty Magistrate Judge

Defendant (1)

Thomas William Hanock represented by Jonathan M Lynn
TERMINATED; 09/19/2018 Wallin and Klarich
17592 Irvine Boulevard

Tustin, CA 92780
714-730-5300

Fax: 714-730-0337

Email: jml@wklaw.com
ATTORNEY TO BE NOTICED
Designation: Retained

Pending Counts Disposition
None

Highest Offense Level (Opening)

None
Terminated Counts Disposition
None

Highest Offense Level (Terminated)

None

Complaints Disposition
Defendant in violation of 18:1343,1957
(a)

 

Plaintiff

USA represented by

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.p1?783985217449408-L_1_0-1 9/21/2018

 
CMI/ECF - Califoania (central Distiess Document 6 Filed 09/25/18 Page 21 of 23 Pase 2 of 4

Assistant 2241-2255 US Attorney LA-
CR

AUSA - Office of US Attorney
Criminal Division - US Courthouse
312 North Spring Street

Los Angeles, CA 90012-4700
213-894-2434

Email: USACAC.Criminal@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney

 

Date Filed

Docket Text

 

09/05/2018

[-

AFFIDAVIT RE: OUT-OF-DISTRICT WARRANT (Rule 5(c)(3)) filed as to
defendant Thomas William Hanock, originating in the District of Arizona.
Defendant charged in violation of: 18:1343. Signed by agent Heather Rivera,
FBI, Special Agent. (mhe) (Entered: 09/11/2018)

 

09/05/2018

I

REPORT COMMENCING CRIMINAL ACTION as to Defendant Thomas
William Hanock; defendants Year of Birth: 1991; date of arrest: 9/5/2018 (mhe)
(Entered: 09/11/2018)

 

09/05/2018

[uo

MINUTES OF ARREST ON OUT OF DISTRICT WARRANT held before
Magistrate Judge Edward A. Infante as to Defendant Thomas William Hanock
Defendant arraigned and states true name is as charged. Attorney: Kelly
Swanston for Thomas William Hanock, Deputy Federal Public Defender,
present. Court orders bail set as: Thomas William Hanock (1) $100,000
Appearance Bond, see attached for terms and conditions. Defendant remanded
to the custody or currently in the custody of the US Marshal. Court orders
defendant held to answer to District of Arizona. Status Hearing set for 9/11/2018
11:00 AM before Magistrate Judge Alexander F. MacKinnon, Court Smart: CS,
(mhe) (Entered: 09/11/2018)

 

09/05/2018

LS

FINANCIAL AFFIDAVIT filed as to Defendant Thomas William Hanock. (Not
for Public View pursuant to the E-Government Act of 2002) (mhe) (Entered:
09/11/2018)

 

09/05/2018

In

ADVISEMENT OF STATUTORY & CONSTITUTIONAL RIGHTS filed by
Defendant Thomas William Hanock. (mhe) (Entered: 09/11/2018)

 

09/05/2018

In

SEALED Defendant Thomas William Hanock arrested on warrant issued by the
USDC District of Arizona at Phoenix. (mhe) (Entered: 09/11/2018)

 

09/05/2018

Im

WAIVER OF RIGHTS approved by Magistrate Judge Edward A. Infante as to
Defendant Thomas William Hanock. (mhe) (Entered: 09/12/2018)

 

09/05/2018

NOTICE OF REQUEST FOR DETENTION filed by Plaintiff USA as to
Defendant Thomas William Hanock (mhe) (Entered: 09/18/2018)

 

09/05/2018

 

 

 

DECLARATION RE: PASSPORT filed by Defendant Thomas William
Hanock, declaring that I have been issued a passport or other travel document(s),

 

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?783985217449408-L_1_0-1 9/21/2018

 
CM/ECF - California (central isttietis Document 6 Filed 09/25/18 Page 22 of 23 Page 3 of 4

but they are not currently in my possession. I will surrender any passport or
other travel document(s) issued to me, to the U.S. Pretrial Services Agency by
the deadline imposed. I will not apply for a passport or other travel document
during the pendency of this case. (mhe) (Entered: 09/18/2018)

MINUTES OF Status Conference held before Magistrate Judge Alexander F.
MacKinnon as to Defendant Thomas William Hanock. Attorney Jonathan M.
Lynn is substituted in as retained counsel for the defendant and advises the court
that a request for bail modification will be filed. Court Smart: CS. (mhe)
(Entered: 09/12/2018)

SEALED EX PARTE APPLICATION to Unseal Case Filed by Plaintiff USA as
to Defendant Thomas William Hanock. (mhe) (Entered: 09/14/2018)

 

09/11/2018

[oo

 

09/13/2018

I\o

 

09/13/2018 10 | SEALED ORDER by Magistrate Judge Alexander F. MacKinnon: granting 9
EX PARTE APPLICATION to Unseal Case as to Thomas William Hanock (1)
(mhe) (Entered: 09/14/2018)

09/14/2018 11 | First APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER
SETTING CONDITIONS OF RELEASE/DETENTION Filed by Defendant
Thomas William Hanock. (Attachments: # 1 Supplement Notification re:
Application for Reconsideration of Order Setting Conditions of Release or
Detention) (Attorney Jonathan M Lynn added to party Thomas William Hanock
(pty:dft)) (Lynn, Jonathan) (Entered: 09/14/2018)

09/14/2018 12 | Notice of Appearance or Withdrawal of Counsel: for attorney Jonathan M Lynn
counsel for Defendant Thomas William Hanock. Adding Jonathan Lynn as
counsel of record for Thomas Hancock for the reason indicated in the G-123
Notice. Filed by Defendant Thomas Hancock. (Lynn, Jonathan) (Entered:
09/14/2018)

09/17/2018 13 | NOTIFICATION RE: First APPLICATION FOR
REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE/DETENTION 11 filed by Defendant Thomas William Hanock. The
Request for hearing was APPROVED. Application set for hearing on 9/19/2018
at 10:30AM before Magistrate Judge Alexander F. MacKinnon. (ib) (Entered:
09/17/2018)

09/18/2018 16 | RESPONSE filed by Plaintiff USA as to Defendant Thomas William Hanock
(Ewald, Sylvia) (Entered: 09/18/2018)

09/19/2018 17 |MINUTES OF BOND HEARING held before Magistrate Judge Alexander F.
MacKinnon Court orders bail set as: Thomas William Hanock (1) $50,000
Appearance Bond. Court orders defendant held to answer to District of Arizona.
granting 11 APPLICATION for Review/Reconsideration of Order Setting
Conditions of Release/Detention re First APPLICATION FOR
REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE/DETENTION 11 as to Thomas William Hanock (1); Court Smart:
CS 9/19/18. (mhe) (Entered: 09/21/2018)

09/19/2018 Notice to District of Arizona of a Rule 5 or Rule 32 Initial Appearance as to
Defendant Thomas William Hanock. The clerk will transmit any restricted
documents via email. Using your PACER account, you may retrieve the docket

 

 

 

 

 

 

 

 

 

 

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl1?783985217449408-L_1_0-1 9/21/2018

 
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sheet and any text-only entries via the case number link. The following
document link(s) is also provided: 17 Order on Application for
Review/Reconsideration of Order Setting Conditions of Release/Detention (CR- .
88),,, Removal/Arrival of Process Hearing - Rule 5(c)(3) (fka Rule 40),,. If you
require certified copies of any documents, please send a request to email address
CrimIntakeCourtDocs-LA@cacd.uscourts.gov (mhe) (Entered: 09/21/2018)

 

 

 

 

PACER Service Center
| Transaction Receipt |

09/21/2018 15:41:59 |

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Login: Code:
Search 2:18-mj-02372-DUTY
Criteria: End date: 9/21/2018

 

 

 

 

 

 

 

Description: ||Docket Report

 

 

Billable
Pages:

 

 

 

2 Cost: 0.20

 

 

 

 

 

 

 

 

 

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?783985217449408-L_1_ 0-1 9/21/2018

 
